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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO
                               Judge Regina M. Rodriguez


  Civil Action No. 1:23-cv-01463

  AMERICAN MUCKRAKERS PAC, INC., a foreign entity, and DAVID B. WHEELER, an
  individual, North Carolina resident;

         Plaintiffs
  v.

  LAUREN OPAL BOEBERT, an individual and Colorado resident, and JOHN DOES (1-25);

         Defendants.



                                     ORDER FOR DISMISSAL



         THIS MATTER having come before the Court on the parties' STIPULATED MOTION

  TO VOLUNTARILY DISMISS WITH PREJUDICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii)

  and the Court being fully advised in the premises, it is hereby

         ORDERED that the above-captioned matter is dismissed, with prejudice, with each party

  to bear its own attorneys’ fees and costs.

         ENTERED: July 8, 2024.


                                                  BY THE COURT:




                                                  REGINA M. RODRIGUEZ
                                                  United States District Judge
